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     ORDERED in the Southern District of Florida on July 15, 2019.




                                                    Robert A. Mark, Judge
                                                    United States Bankruptcy Court
_____________________________________________________________________________


                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
  __________________________________
                                     )
  In re:                             )    CASE NO. 14-20633-RAM
                                     )    CHAPTER 13
  ARNEX AUGUSTIN,                    )
                                     )
                                     )
                  Debtor.            )
                                     )
                                     )


                          ORDER SETTING HEARING
                   ON DEBTOR’S WIFE’S CLAIM TO REFUNDS


          The Court received a letter dated July 9, 2019, from the

  deceased Debtor’s widow, Sabine Augustin, that has been docketed as

  a Motion for Court Order to Retrieve Checks (the “Motion”) [DE#

  101].   Apparently, the Trustee received overpayments and the widow

  seeks an Order authorizing her to receive the overpayments as the

  Debtor’s surviving spouse.      It is –
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     ORDERED as follows:

     1.      The Court will conduct a hearing on the Motion on July 30,

2019 at 10:00 a.m., at U.S. Bankruptcy Court, C. Clyde Atkins United

States Courthouse, 301 North Miami Avenue, Courtroom 4, Miami, FL

33128.

     2.      Ms.    Augustin   must    attend        the   hearing,      however,   Ms.

Augustin is permitted to attend the hearing by telephone, for her

convenience,       by   contacting    the       Court’s    Calendar     Clerk,   Jackie

Antillon, at (305) 714-1766, and providing her with a telephone

number at which she can be reached at the time of the hearing.


                                        ###

COPIES TO:

Nancy Neidich, Trustee

CLERK TO SERVE:

Sabine Augustin
751 NE 180th Street
Miami, FL 33162




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